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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 RICHARD PRATT and LARRY JONES,
 individually and on behalf of all others   Case No. 21-cv-11404-TLL-PTM
 similarly situated,
                                            Hon. Thomas L. Ludington

                   Plaintiffs,              Mag. Judge Patricia T. Morris

       v.

 KSE SPORTSMAN MEDIA, INC.,


                   Defendant.

           PLAINTIFFS’ UNOPPOSED MOTION FOR
   ATTORNEYS’ FEES, COSTS, EXPENSES, AND SERVICE AWARDS
Case 1:21-cv-11404-TLL-PTM ECF No. 81, PageID.1822 Filed 10/17/23 Page 2 of 37




      The undersigned counsel certifies that Plaintiffs’ Counsel communicated with

Counsel for Defendant via email and telephonic discussion on October 16 and 17,

2023, explaining the nature of the relief to be sought by way of this Motion and

seeking concurrence in the relief; Defendant’s Counsel answered that it does not

oppose the relief requested herein.

      Plaintiffs, pursuant to the Court’s Order Granting Plaintiffs’ Motion for

Preliminary Approval in which the Court set October 17, 2023 as the deadline for

Plaintiffs’ Motion for Attorney’s Fees, Expenses, and Service Awards (ECF No. 80,

PageID.1820), files this Motion and Plaintiffs respectfully request that the Court (1)

approve attorneys’ fees, costs, and expenses in the amount of 35% of the settlement

fund of $9,500,000, or $3,325,000; (2) grant Mr. Pratt and Mr. Jones a service award

of $1,500 each in recognition of their efforts on behalf of the class; and (3) award

such other and further relief as the Court deems reasonable and just.

Dated: October 16, 2023                Respectfully submitted,

                                       By: /s/ E. Powell Miller
                                       E. Powell Miller (P39487)
                                       THE MILLER LAW FIRM, P.C.
                                       950 W. University Drive, Suite 300
                                       Rochester, MI 48307
                                       Tel: 248.841.2200
                                       epm@millerlawpc.com

                                       Class Counsel

                                       Joseph I. Marchese (P85862)
                                       Philip L. Fraietta (P85228)

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                                    BURSOR & FISHER, P.A.
                                    1330 Avenue of the Americas, 32nd Floor
                                    New York, New York 10019
                                    Tel: 646.837.7150
                                    jmarchese@bursor.com
                                    pfraietta@bursor.com

                                    Frank S. Hedin
                                    Arun G. Ravindran
                                    HEDIN HALL LLP
                                    1395 Brickell Avenue, Suite 1140
                                    Miami, Florida 33131
                                    Tel: 305.357.2107
                                    fhedin@hedinhall.com
                                    aravindran@hedinhall.com

                                    Other Counsel for Plaintiffs




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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 RICHARD PRATT and LARRY JONES,
 individually and on behalf of all others   Case No. 21-cv-11404-TLL-PTM
 similarly situated,
                                            Hon. Thomas L. Ludington

                   Plaintiffs,              Mag. Judge Patricia T. Morris

       v.

 KSE SPORTSMAN MEDIA, INC.,


                   Defendant.

        PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR
   ATTORNEYS’ FEES, COSTS, EXPENSES, AND SERVICE AWARDS
Case 1:21-cv-11404-TLL-PTM ECF No. 81, PageID.1825 Filed 10/17/23 Page 5 of 37




                      STATEMENT OF ISSUES PRESENTED

      1.        Whether this Court should award Class Counsel and Plaintiffs’ other

counsel attorneys’ fees, costs, and expenses in the amount of $3,325,000 – 35% of

the $9,500,000 Settlement Fund created for the benefit of the class – to compensate

and reimburse them for achieving a substantial cash benefit for a class of consumers

under Michigan’s Preservation of Personal Privacy Act, M.C.L. §§ 445.1711-1715,

et seq.?

                      Plaintiffs’ Answer: Yes.

      2.        Whether this Court should award Plaintiffs Richard Pratt and Larry

Jones a service award of $1,500 each in recognition of their zealous efforts on behalf

of the class?

                      Plaintiffs’ Answer: Yes.




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      CONTROLLING AND MOST APPROPRIATE AUTHORITIES

       • Fed. R. Civ. P. 23(h)

       • Gascho v. Global Fitness Holdings, LLC, 822 F.3d 269 (6th Cir. 2016)

       • In re Cardizem CD Antitrust Litig., 218 F.R.D. 508 (E.D. Mich. 2003)

       • In re Delphi Corp. Sec., Derivative & “ERISA” Litig., 248 F.R.D. 483
         (E.D. Mich. 2008)

       • In re Rio Hair Naturalizer Prods. Liab. Litig., 1996 WL 780512 (E.D.
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       • Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188 (6th Cir. 1974)




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       The Settlement Agreement (“SA”) negotiated by Plaintiffs and Class Counsel

 with KSE Sportsman Media, Inc. (“KSE”) brought under the Michigan Preservation

 of Personal Privacy Act (the “PPPA”), and preliminarily approved by this Court on

 August 25, 2023, represents the best-ever per-class member recovery in a PPPA

 settlement by a wide margin. ECF No. 80. The SA—the result of multiple mediations

 with different federal judges, including a full-day mediation the Honorable Gerald

 E. Rosen (Ret.) (former E.D. Mich. Chief Judge, now a mediator at JAMS

 (Detroit))—creates a $9,500,000 non-reversionary cash Settlement Fund (“SF”)

 which equates to a per-Class Member aggregate recovery of $655, from which every

 Settlement Class Member (“SCM”) (except for those who request exclusion from

 the SA) will automatically receive (i.e., without filing a claim form) a pro rata cash

 payment of roughly $420, far exceeding the per-class member recovery in previous

 PPPA settlements. The Settlement also provides meaningful prospective relief by

 requiring KSE to refrain, in perpetuity, from disclosing to any third party the

 subscription information of any of the Michigan-based subscribers to any of its

 publications.

       Moreover, the Settlement compares very favorably with settlements in similar

 case, including those recently approved by this Court. See, e.g., Strano v. Kiplinger

 Washington Editors, Inc., No. 1:21-cv-12987 PageID.1900 (E.D. Mich. Oct. 11,

 2023) (approving class settlement paying roughly $248 per class member); Moeller



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 v. The Week Publications, Inc., No. 1:22-cv-10666 PageID.2338 (E.D. Mich. Oct.

 11, 2023) (same); Perlin v. Time, Inc. (No. 2:16-cv-10635 PageID.778-789) (E.D.

 Mich.) (approving class settlement to pay between $25-50 per claimant).

       Obtaining this relief did not come easily. Plaintiffs shouldered significant risk,

 conducted a lengthy pre-filing investigation, engaged in dispositive motion practice,

 formal discovery, including third-party discovery, and conducted contentious,

 arm’s-length negotiations, including three full-day mediations overseen by former

 federal judges: the Hon. Wayne R. Andersen (Ret.), the Hon. James F. Holderman

 (Ret.), and the Hon. Gerald E. Rosen (Ret.).

       The unprecedented result, and the efficiency in which it was obtained, would

 not have been possible without the significant investments of time and resources in

 the prosecution of PPPA actions over the past decade by Class Counsel and

 Plaintiffs’ other counsel (together, “Plaintiffs’ Counsel”), providing knowledge,

 experience, and well-developed body of PPPA jurisprudence necessary to achieve

 the SA. 1 This accumulated knowledge and experience, in a niche area of law, to

 efficiently obtain this SA weighs strongly in favor of requested fee’s reasonableness.


 1
   In granting final approval to a similar class in Loftus v. Outside Integrated Media,
 LLC, No. 2:21-cv-11809 (E.D. Mich. Aug. 9, 2022), the Honorable Mark A.
 Goldsmith commended the work of the attorneys representing the class – the same
 counsel here – and noted that “the class has benefited in a concrete way” from the
 “very effective work” done by Plaintiff’s counsel. See Exhibit F hereto, 8/9/22
 Hearing Tr. at 7:9-8:2 (approving Class Counsel’s attorneys’ fees request for 35%
 “where the lawyers did produce significant results for the class in very short order”).

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       Accordingly, Plaintiffs respectfully requests pursuant to Rule 23(h) that the

 Court approve attorneys’ fees, costs, and expenses of 35% of the SF, or $3,325,000,

 and service awards of $1,000 each for Plaintiffs for their service as class

 representatives. The requested fee is an equal percentage to that approved by this

 Court in other PPPA class settlements. See Strano, No. 1:21-cv-12987

 PageID.1897‒1901 (awarding 35% of $6.845 million settlement in PPPA case

 paying roughly $248 per class member); Moeller, No. 1:22-cv-10666 PageID.2335‒

 2339 (awarding 35% of $5 million settlement in PPPA case paying roughly $248

 per class member); Kinder v. Meredith Corp., 1:14-cv-11284 PageID.2766-2772

 (E.D. Mich. May 18, 2016) (awarding 35% of $7.5 million settlement in PPPA case

 paying roughly $50 per claimant). And it is a lesser percentage than other courts in

 this District have approved. Perlin v. Time Inc., No. 2:16-cv-10635 PageID.1087-

 1095 (E.D. Mich. Oct. 15, 2018) (awarding 40% of $7.4 million settlement resolving

 PPPA claim paying between $25-$50 per claimant). The SA here outperforms every

 PPPA settlement in structure and per-class member recovery, by a wide margin. This

 Court should approve the requested fees, costs, expenses, and service award.

 I.    BACKGROUND

       On June 15, 2021, Plaintiffs filed the Class Action Complaint against KSE.

 Compl., ECF No. 1. Plaintiffs allege that before July 30, 2016, KSE disclosed

 information related to its customers’ magazine subscription histories and personal



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 reading habits without their consent in violation of the PPPA. Id. ¶¶ 1‒10, 42‒49.

       From the start, the Parties engaged in direct communication, and per Rule 26,

 discussed early resolution. See Exhibit A hereto, Declaration of E. Powell Miller in

 Support of Plaintiffs’ Motion for Attorneys’ Fees, Costs, Expenses, and Service

 Award (“EPM Decl.”) ¶ 7. To that end, the Parties agreed to engage in mediative

 efforts. 2 Id. The Parties went through an extensive settlement process involving

 several mediations with different mediators. Id. Throughout the process, KSE

 produced information to Plaintiffs’ counsel concerning class size, KSE’s financial

 condition, and KSE’s ability to withstand a class-wide judgment. Id. ¶ 8. The Parties

 also engaged in written and document discovery, which included the production of

 thousands of pages of documents, numerous third-party subpoenas, and a motion to

 compel (ECF No. 40). Id. The information obtained by Plaintiffs was then subjected

 to a detailed analysis by a forensic accountant hired by Class Counsel. Id. Ultimately,

 the Parties, with the assistance of Judges Rosen and Holderman, reached agreement

 on a framework for a class-wide resolution of the case, which they memorialized

 into a term sheet on April 26, 2023. Id. ¶ 9. In the months following, the Parties

 negotiated and finalized the full-form SA (attached to the Decl. as Ex. 1), conducted


 2
   After an unsuccessful mediation, KSE filed its Motion to Dismiss pursuant to Fed.
 R. Civ. P. 12(b)(1)&(6), arguing, inter alia, that Plaintiffs’ claims were time-barred
 by a three-year statute of limitations and that Plaintiffs lack Article III standing to
 pursue their claims. ECF No. 17. On February 15, 2022, after full briefing, the Court
 denied KSE’s Motion to Dismiss in its entirety. ECF No. 24.

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 a competitive bidding process and selected a proposed Settlement Administrator,

 and worked together to finalize the Settlement Class List, which included the

 assistance of Plaintiffs’ database management expert. Id. ¶ 10.

       On August 25, 2023, the Court preliminary approved the SA. ECF No. 80.

 Since then, Plaintiffs’ Counsel has worked with the Settlement Administrator to

 administer the Notice Plan. 3

       A.     The Litigation and Work Performed to Benefit the Class

       Beginning in 2015, Plaintiffs’ Counsel began investigating and litigating

 cases against publishers for alleged PPPA violations. The theory of liability was

 novel. Although a few other cases had been filed against publishers, none had

 progressed through class certification or summary judgment. PF Decl. ¶ 4. Despite

 the uncertainty, Plaintiffs’ Counsel litigated numerous PPPA issues of first

 impression, such as: (i) whether an alleged violation of the statute was sufficient to

 confer Article III standing; (ii) whether the statute violated the First Amendment on

 its face or as applied; (iii) whether plaintiffs could pursue class action claims for

 statutory damages in federal court under Rule 23 in light of MCR 3.501(A)(5); and

 (iv) whether a 2016 amendment to the statute applied retroactively. See, e.g., Boelter



 3
   See Exhibit B hereto, Declaration of Philip L. Fraietta in Support of Plaintiffs’
 Motion for Attorneys’ Fees, Costs, Expenses, and Service Award (“PF Decl.”) ¶ 18;
 & Exhibit C hereto, Declaration of Frank S. Hedin in Support of Plaintiffs’ Motion
 for Attorneys’ Fees, Costs, Expenses, and Service Award (“FH Decl.”) ¶ 23.

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 v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427 (S.D.N.Y. 2016); Boelter v. Advance

 Magazine Publishers Inc., 210 F. Supp. 3d 579 (S.D.N.Y. 2016); see also id. ¶ 5.

 Plaintiffs’ Counsel then conducted vigorous discovery, including in-depth research

 into data industry practices, such as data appending and data cooperatives, and

 ultimately third-party discovery from those companies. Through that discovery,

 Plaintiffs’ Counsel amassed a wealth of institutional knowledge regarding the data

 industry. Id. ¶ 6; FH Decl. ¶ 20. Plaintiffs’ Counsel won a motion for summary

 judgment in Boelter v. Hearst Commc’ns, Inc., 269 F. Supp. 3d 172 (S.D.N.Y. 2017).

 This summary judgment victory provided a roadmap to liability for publishers based

 on the above data industry practices. PF Decl. ¶ 7.

       Plaintiffs’ Counsel then successfully argued that the amended version of the

 PPPA does not apply to claims that accrued prior to its effective date of 7/31/16.

 Horton v. GameStop, Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018) (holding

 amended version of the PPPA does not apply to claims filed after its effective date

 of 7/31/16 where the alleged disclosures occurred prior to the effective date). FH

 Decl. ¶ 14; PF Decl. ¶ 8. And, in the above PPPA litigation, it was assumed that

 PPPA cases were governed by a 3-year statute of limitations. FH Decl. ¶ 17; PF

 Decl. ¶ 9; see, e.g., Hearst, 269 F. Supp. 3d at 172; Edwards v. Hearst Commc’ns,

 Inc., 2016 WL 6651563 (S.D.N.Y. Nov. 9, 2016). Nonetheless, shortly before filing

 this case, Plaintiffs’ Counsel recognized that the Sixth Circuit’s opinion in Palmer



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 Park Square, LLC v. Scottsdale Ins. Co., 878 F.3d 530 (6th Cir. 2017), and relevant

 Michigan authority, arguably provided a basis for applying a 6-year limitation period

 to PPPA claims, and thus may provide an avenue for class recovery under the

 original PPPA. After that extensive pre-suit investigative analysis, and motion

 practice, this Court issued the first-of-its-kind decision finding that a six-year statute

 of limitations applies to PPPA claims. ECF No. 24; FH Decl. ¶ 19; PF Decl. ¶ 9.

 II.    SUMMARY OF THE SETTLEMENT

        The SA delivers an instant benefit to 14,503 SCMs as it creates a non-

 reversionary $9,500,000 SF, with a per-Class Member aggregate recovery of $655,

 and SCMs will automatically be mailed a pro rata check of roughly $420, SA ¶¶

 1.33, 2.1, providing meaningful relief to SCMs, in a timely and streamlined manner.

 III.   THE REQUESTED SERVICE AWARD REFLECTS MR. PRATT’S
        AND MR. JONES’ ACTIVE INVOLVEMENT HERE AND SHOULD
        BE APPROVED

        Service awards are often awarded in common-fund cases in the 6th Circuit.

 Hadix v. Johnson, 322 F.3d 895, 898 (6th Cir. 2003). The following factors are used

 in approving such an award: (1) actions to protect the class’s interests and if that

 resulted in a substantial benefit to the class; (2) financial risk the class representative

 assumed; and (3) time and effort the class representative dedicated. Lasalle Town

 Houses Coop Assoc. v. City of Detroit, 2016 WL 1223354, at *7 (E.D. Mich. Mar.

 29, 2016). Based on these factors, service awards of $1,500 each for Mr. Pratt and



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 Mr. Jones are reasonable and are less than the amount awarded to the class

 representatives in other PPPA cases: Kokoszki v. Playboy Enterprises, Inc., 2:19-cv-

 10302 PageID.1066 (E.D. Mich. Aug. 19, 2020) (awarding $5,000), Loftus, No.

 2:21-cv-11809 PageID.1957 (same), and Kain v. The Economist Newspaper NA,

 Inc., No. 4:21-cv-11807 PageID.1369 (same), and a fraction of the amounts awarded

 in comparable settlements. See, e.g., In re CMS Energy ERISA Litig., 2006 WL

 2109499, at *3 (E.D. Mich. June 27, 2006) (awarding class representatives $15,000).

       Mr. Pratt and Jones spent considerable time protecting the class’s interests.

 See Exhibit D hereto, Declaration of Richard Pratt (“RP Decl.”); & Exhibit E

 hereto, Declaration of Larry Jones (“LJ Decl.”). They assisted in investigating their

 claims, detailed their magazine subscription histories, and aided in drafting the

 Complaint. RP Decl. ¶¶ 3-4; LJ Decl. ¶¶ 3-4; EPM Decl. ¶ 26. They searched for

 and produced documents to KSE in discovery. RP Decl. ¶ 7; LJ Decl. ¶ 7; EPM Decl.

 ¶ 28. They have been actively consulted throughout the settlement process—through

 this filing. RP Decl. ¶¶ 6-9; LJ Decl. ¶¶ 6-9; PM Decl. ¶¶ 26-29. Thus, the Service

 Awards are fair, reasonable, and should be approved. See Order, ECF No. 80,

 PageID.1812 (“Lead Plaintiffs’ incentive award is only $1,500 . . . so there are no

 concerns about the incentive award creating a misalignment of interests or

 inequality.”).




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 IV.   THE REQUESTED ATTORNEYS’ FEES AND COSTS ARE
       REASONABLE AND SHOULD BE APPROVED

       The requested fee and cost award of $3,325,000, 35% of the common fund, is

 reasonable and merits approval. Courts may award “reasonable attorney’s fees and

 nontaxable costs that are authorized by law or the parties’ agreement.” Fed. R. Civ.

 P. 23(h). The SA provides that Plaintiffs’ Counsel may petition the Court for an

 award of attorneys’ fees, costs, and expenses up to 35% of the SF. SA, ¶ 8.1.

       As set forth below, the Court should calculate Plaintiffs’ Counsel’s fee using

 the “percentage-of-the-fund” method and find that the requested award of 35% of

 the SF is reasonable and well supported by applicable Sixth Circuit law.

       A.     The Percentage Method Should Be Used to Calculate Fees

       “When awarding attorney fees in a class action, district courts generally have

 discretion to choose whether to calculate fees based on the lodestar method—

 multiplying the number of hours reasonably expended by a reasonable hourly rate—

 or based on the percentage method—awarding class counsel a percentage of the

 monies recovered.” Lyngaas v. Curaden AG, 2020 WL 5249203, at *1 (E.D. Mich.

 Sept. 3, 2020) (citing Gascho v. Global Fitness Holdings, LLC, 822 F.3d 269, 279

 (6th Cir. 2016)). “As the two methods measure the fairness of the fee . . . , it is

 necessary that district courts be permitted to select the more appropriate method for

 calculating attorney’s fees in light of the unique characteristics of class actions in

 general, and of the unique circumstances of the actual cases before them.” Id., at *1.


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       In “choosing between the percentage and lodestar approaches,” courts “look

 to the calculation method most commonly used in the marketplace at the time such

 a negotiation would have occurred.” Kolinek v. Walgreen Co., 311 F.R.D. 483, 500‒

 01 (N.D. Ill. 2015); see also, e.g., Nilsen v. York Cty., 400 F. Supp. 2d 266, 278 (D.

 Me. 2005) (“There is good reason for using a market-oriented approach. If a

 consumer wanted to determine a reasonable plumber’s, mechanic’s or dentist’s fee,

 the consumer would have to look to the market. Why should lawyers be different?”).

       With respect to consumer class actions in particular, where “the normal

 practice . . . is to negotiate a fee arrangement based on a percentage of the plaintiffs’

 ultimate recovery,” Kolinek, 311 F.R.D. at 501, the federal judiciary is in near

 unanimous agreement that the percentage-of-the-fund approach best yields the fair

 market price for the services provided by counsel to the class for purposes of

 determining a reasonable attorneys’ fee award at settlement. See Kirchoff v. Flynn,

 786 F.2d 320, 324 (7th Cir. 2006) (“When the prevailing method of compensating

 lawyers for similar services is the contingent fee, then the contingent fee is the

 market rate.”); see, e.g., In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 532

 (E.D. Mich. 2003) (“This Court’s decision to apply the percentage-of-the-fund

 method is consistent with the majority trend[.]”). This is especially true where, as in

 this case, a settlement establishes a non-reversionary common fund for the benefit

 of the Class. See Fournier v. PFS Invs., Inc., 997 F. Supp. 828, 831‒32 (E.D. Mich.



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 1998) (“the percentage of the fund method . . . allows for a more accurate

 approximation of a reasonable award for fees.”). Thus, in recent non-reversionary

 common fund cases, like here, district courts of the Sixth Circuit have applied the

 percentage-of-the-fund method in determining a reasonable attorneys’ fee award.

 See In re Delphi Corp. Sec., Derivative & “ERISA” Litig., 248 F.R.D. 483, 502 (E.D.

 Mich. 2008) (“the Sixth Circuit has observed a ‘trend towards adoption of a

 percentage of the fund method in common fund cases’”).

       And the percent-of-the-fund method best replicates the ex ante market value

 of the services that counsel provided to the Class. It is the means by which an

 informed Class and counsel would have established counsel’s fee at the outset of the

 litigation. See Kolinek, 311 F.R.D. at 501 (in consumer class-action litigation, “the

 normal practice [is] to negotiate a fee arrangement based on a percentage of the

 plaintiffs’ ultimate recovery”). The percentage-of-the-fund method also better aligns

 counsel’s interests with those of the Class because it bases the fee on the results the

 lawyers achieve for their clients rather than on the number of motions they file,

 documents they review, or hours they work, and it avoids some of the problems the

 lodestar-times-multiplier method can foster (such as encouraging counsel to delay

 resolution of the case when an early resolution may be in their clients’ best interests).

 N.Y.S. Teachers’ Ret. Sys. v. Gen. Motors Co., 315 F.R.D. 226, 243 (E.D. Mich.

 2016) (explaining that while “[t]he lodestar method better accounts for the amount



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 of work done . . . the percentage of the fund method more accurately reflects the

 results achieved”). It is also simpler to apply. See also, e.g., Fournier, 997 F. Supp.

 at 832 (noting that the percentage-of-the-fund method provides the “benefit” of

 “readily ascertainable fee amounts”); Hillson v. Kelly Servs. Inc., 2017 WL 3446596,

 at *2 (E.D. Mich. Aug. 11, 2017) (stating that “[t]he percentage-of-recovery

 approach is ‘easy to calculate’” and “‘establishes reasonable expectations on the part

 of plaintiffs’ attorneys.’”) (citation omitted). 4 As explained in Cardizem:

            The lodestar [method] remains difficult and burdensome to apply,
            and it positively encourages counsel to run up the bill, expending
            hours that are of no benefit to the class. Moreover, use of the
            lodestar may result in undercompensation of talented attorneys.
            Experienced practitioners know that a highly qualified and
            dedicated attorney may do more for a class in an hour than another
            attorney could do in ten. The lodestar can end up prejudicing
            lawyers who are more efficient with a less expenditure of time.

 In re Cardizem CD Antitrust Litig. (E.D. Mich. Nov. 26, 2002) 5. For these reasons,

 the percentage-of-the-fund method (rather than the lodestar method) has been used

 to calculate a reasonable attorneys’ fee award in all other PPPA class actions to have

 settled in this District, including by this Court. See, e.g., Strano, No. 1:21-cv-12987

 PageID.1900; Moeller, No. 1:22-cv-10666 PageID.2338; Kinder, 1:14-cv-11284



 4
   The lodestar approach would create a perverse incentive for Class Counsel to reject
 or delay accepting the Settlement now before the Court merely to bill more hours
 through a litigation strategy that would be more wasteful, unnecessary, and risky.
 5
    By contrast, the lodestar approach is most appropriately applied in federal fee-
 shifting cases. See, e.g., Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551 (2010).

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 PageID.2771; Higgins v. TV Guide Magazine, LLC, 2:15-cv-13769 PageID.1201

 (E.D. Mich. Dec. 19, 2018); Kokoszki, 2:19-cv-10302 PageID.1066.

       Accordingly, consistent with the recent trend in the Sixth Circuit, including

 the fee decisions in the PPPA cases cited above, this Court should calculate

 Plaintiffs’ Counsel’s fee using the percentage-of-the-fund method.

       B.    The Reasonableness of the Requested Fees and Costs Is Supported
             by This Circuit’s Six-Factor Test

       The Sixth Circuit in Ramey articulates six “germane” factors to determining

 reasonableness of a requested percentage to award as attorneys’ fees: (1) value of

 benefit to the class; (2) society’s stake in rewarding attorneys who produce the

 settlement’s benefits, to maintain an incentive to others; (3) whether the work was

 performed on a contingent fee basis; (4) complexity of the litigation; (5) skill and

 standing of counsel on both sides; and (6) the value of the legal services performed

 on an hourly basis. Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188, 1196 (6th

 Cir. 1974); Gascho, 822 F.3d at 280 (describing these factors as “germane” to the

 fee inquiry); Moulton v. U.S. Steel Corp., 581 F.3d 344, 352 (6th Cir. 2009).

       A “reasonable” fee in common-fund case typically ranges “from 20 to 50

 percent.” Shane Grp. v. BCBS of Mich., 2015 WL 1498888, at *15 (E.D. Mich. Mar.

 31, 2015); see also Mathias v. Accor Econ. Lodging, Inc., 347 F.3d 672, 677 (7th

 Cir. 2003) (noting the “usual 33-40 percent contingent fee” to plaintiff’s lawyers).

 The award is calculated as percentage “from the fund as a whole.” Boeing Co. v. Van


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 Gemert, 444 U.S. 472, 478 (1980); Gascho, 822 F.3d at 282 (the “[a]ttorney’s fees

 are the numerator” and “the dollar amount of the Total Benefit to the class (including

 the benefit to class members, attorney’s fees, and [potentially] the costs of

 administration)” is the denominator). Courts in this District, and this Court in Strano,

 Moeller, and Kinder, have awarded 35%-40% of common funds in PPPA cases. 6

       Here, where Plaintiffs’ Counsel achieved the best per-class member recovery

 ever in a PPPA case, by a wide margin, the requested award is reasonable.

              1.   Counsel Have Secured a Valuable Benefit for the Class

       The value of the benefit to the class is the most vital factor in assessing the

 reasonableness of fees. Dick v. Sprint Commc’ns Co. L.P., 297 F.R.D. 283, 299

 (W.D. Ky. 2014). This includes considering tangible and intangible benefits. See

 Gascho, 822 F.3d at 282 (must consider cash and noncash settlement components).

 The risk of continued litigation is also a factor. Dick, 297 F.R.D. at 299.

       The SA here provides for an excellent recovery, creating a $9,500,000 non-

 reversionary cash SF for the benefit of 14,503 SCMs. Deducting notice and

 administration costs and the requested attorneys’ fees and service award, SCMs will

 automatically be mailed a check for roughly $420, a payment far in excess, per-class



 6
   See Strano, No. 1:21-cv-12987 PageID.1900; Moeller, 1:22-cv-10666 PageID.
 2338; Kinder, 1:14-cv-11284 PageID.2771; Higgins, 2:15-cv-13769 PageID.1201;
 Perlin, 2:16-cv-10635 PageID.1093; Kokoszki, 2:19-cv-10302 PageID.1066; Loftus,
 2:21-cv-11809 PageID.1957; Kain, 4:21-cv-11807 PageID.1368.

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 member, of every previous PPPA settlement, and in many of those, class members

 were required to file claims and, accordingly, 80-90% did not receive any payment.

       Weighed against the risks of continued litigation—including the Court’s

 decisions on dispositive motions, additional fact and expert discovery necessary for

 trial, and other potential obstacles that could strip the class of any recovery—the

 value of the immediate monetary recovery that the SA affords thus supports the

 reasonableness of the requested attorneys’ fees. The first factor is well satisfied.

              2.   Societal Stake in Complex Consumer Privacy Litigation

       Society has a strong stake in rewarding attorneys who produce the type of

 benefits achieved by the SA here. See In re Cardizem, 218 F.R.D. at 533; see also

 Gascho, 822 F.3d at 287 (“Consumer class actions . . . have value to society . . . as

 deterrents to unlawful behavior . . . and as private law enforcement regimes that free

 public sector resources.”). It is thus in society’s interest to encourage litigation that

 protects important consumer privacy rights that would not otherwise be safeguarded.

 See In re Rio Hair Naturalizer Prods. Liab. Litig., 1996 WL 780512, at *17 (E.D.

 Mich. Dec. 20, 1996) (“Without compensation to those who are willing to undertake

 the inherent complexities and unknowns of consumer class action litigation,

 enforcement of the federal and state consumer protection laws would be

 jeopardized.”); In re Cardizem, 218 F.R.D. at 534 (“Encouraging qualified counsel

 to bring inherently difficult and risky but beneficial class actions . . . benefits



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 society.”). When individual class members seek relatively small statutory damages,

 “[e]conomic reality dictates that [their] suit proceed as a class action or not at all.”

 Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 161 (1974).

       Society has a vital interest in incentivizing complex litigation to protect

 consumer privacy. Class actions are the most realistic means of safeguarding this

 privacy under the PPPA, especially given that consumers are often unaware of the

 ongoing privacy rights violations (here, it was alleged that KSE secretly disclosed

 its customers’ personal reading information). The alternative would have been no

 enforcement, and the allegedly unlawful conduct would have continued unabated.

       Finally, the Class’s reaction to the requested fee award also confirms its

 fairness and reasonableness. See In re Delphi, 248 F.R.D. at 504 (“The Class’s

 overwhelming favorable response lends further support to the conclusion that the

 requested fee award is fair and reasonable.”). The Notices here specifically stated

 that counsel intends to apply for a fee of up to 35% of the SF. Since dissemination,

 not one SCM has submitted an objection to the SA. Thus, the Class, as a microcosm

 of society, has recognized the societal value of this litigation by giving the SA a

 resounding stamp of approval. This factor thus supports the requested award.

              3.   Counsel Took the Case on a Contingent Basis, Confronting
                   Significant Risk of Nonpayment

       Undertaking an action on a contingency basis lends additional support to the

 reasonableness of a requested fee award. See In re Cardizem, 218 F.R.D. at 533;


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 Stanley v. U.S. Steel Co., 2009 WL 4646647, at *3 (E.D. Mich. Dec. 8, 2009)

 (“Numerous cases recognize that the contingent fee risk is an important factor in

 determining the fee award.”). When attorneys invest significant time and resources

 in pursuing the litigation, despite the risk they will not be compensated, this factor

 is generally satisfied. In re Rio, 1996 WL 780512, at *18; Kogan v. AIMCO Fox

 Chase L.P., 193 F.R.D. 496, 504 (E.D. Mich. 2000). The contingent nature of the

 case is amplified where class counsel face a formidable defendant.

       Plaintiffs’ Counsel pursued the action on a contingency basis, and as such,

 during litigation, Plaintiffs’ Counsel invested significant time, effort, and resources

 without any compensation. EPM Decl. ¶ 22; FH Decl. ¶ 21; PF Decl. ¶ 11. Plaintiffs’

 Counsel, pre-filing, extensively investigated the facts and legal issues, which was

 informed by the vast experience and expertise they had accumulated during their

 prosecution of numerous other PPPA litigations and guided by the well-established

 body of PPPA jurisprudence those efforts had produced. EPM Decl. ¶¶ 5-6; FH Decl.

 ¶¶ 13-23; PF Decl. ¶ 3-10. Cognizant of the risk of nonpayment, Plaintiffs’ Counsel

 nonetheless embarked on a fact-intensive investigation of KSE’s practices, filed the

 case, and engaged in dispositive motion practice and discovery. EPM Decl. ¶ 5; FH

 Decl. ¶¶ 19-20. Plaintiffs’ Counsel also paid for and participated in the full-day

 mediations with Chief Judge Rosen, Judge Holderman, and Judge Andersen. PF

 Decl. ¶ 12; FH Decl. ¶ 25. Plaintiffs’ Counsel fronted this investment of time and



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 resources, despite the significant risk of nonpayment inherent in this case. EPM

 Decl. ¶ 22; PF Decl. ¶ 11; FH Decl. ¶¶ 21, 24.

       And given the defenses mounted by KSE, led by experienced defense counsel,

 success on the legal issues presented here was far from certain. EPM Dec. ¶¶ 15‒17.

 But for the Settlement, Plaintiffs would have to overcome numerous defenses, such

 as: (i) the PPPA does not prohibit the disclosure of the magazine subscriptions

 information at issue (because third-party recipients of the disclosures are KSE’s

 agents), (ii) that KSE also provided proper notice of its practices, and (iii) that the

 PPPA is an impermissible special law. EPM Decl. ¶ 17.

       In considering the reasonableness of a fee request in a contingency class action

 settlement, courts consider how the legal market would have assessed the case’s risk

 at its inception and, in turn, how the market’s risk assessment would have affected a

 hypothetical ex ante fee negotiation between counsel and potential client. See

 Goodell v. Charter Commc’ns, LLC, 2010 WL 3259349, at *1 (W.D. Wis. Aug. 17,

 2010) (“The question is not how risky the case looks when it is at an end but how

 the market would have assessed the risks at the outset.”). Here, Plaintiffs’ Counsel

 began their pre-filing investigation in late 2020, when there were no other PPPA

 claims being prosecuted against KSE (or others) by any attorneys in the country. FH

 Decl. ¶ 20. Plaintiffs’ claims here depended on counsel successfully arguing that a

 six-year limitation period applied. See id. ¶¶ 18-19. And Plaintiff faced risk on a



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 Rule 12(b)(6) motion for failure to state a claim. See Nashel v. New York Times Co.,

 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022); see also Bozung v. Christianbook,

 LLC, 2023 WL 2385004 (W.D. Mich. Mar. 6, 2023). Considering these significant,

 threshold risks, this litigation was likely viewed as too risky to pursue by other

 counsel. Plaintiffs’ Counsel nonetheless plowed forward and negotiated the SA

 presently before the Court for approval. And no other counsel came forward to

 compete for control, to propose to the Court that it be appointed lead counsel at a

 lower fee structure, or to offer to share in the case’s risk and expense with Plaintiffs’

 Counsel—establishing that Plaintiffs’ Counsel would have been able to obtain the

 requested Fee Award of 35% of the SF in an ex ante negotiation with the Class.

 Moreover, despite the serious risk of non-recovery to the Class, at the outset,

 Plaintiffs’ Counsel nevertheless expended a significant amount of attorney time and

 expenses investigating, prosecuting, and resolving the claims without any guarantee

 of payment. See EPM Decl. ¶¶ 5-6; PF Decl. ¶¶ 4-6; FH Decl. ¶¶ 18-21. And their

 law firms were forced to forego representing clients in other matters they otherwise

 would have taken on. See EPM Decl. ¶ 22; PF Decl. ¶ 11; FH Decl. ¶ 24. Plaintiffs’

 Counsel should be rewarded for devoting substantial resources investigating and

 prosecuting the case on behalf of the Class. Thus, the requested Fee Award

 reasonably compensates Plaintiffs’ Counsel for assuming the risk at the outset and

 embarking on time-consuming and expensive litigation for the Class’s benefit.



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              4.   The Complexity of the Litigation Supports the Requested Fees

       The complexity of the litigation reinforces the reasonableness of the requested

 fee award. In re Cardizem, 218 F.R.D. at 533. “[M]ost class actions are inherently

 complex.” In re Telectronics Pacing Sys., Inc., 137 F. Supp. 2d 985, 1013 (S.D. Ohio

 2001). This case is no exception. It involved multiple layers of factual complexity,

 much of which was obscured at the outset due to KSE’s alleged concealment of its

 practices from consumers. This required extensive preliminary investigation into

 KSE’s business practices, its methods of data collection and aggregation, and the

 nature of its relationships with various third-party data companies. FH Decl. ¶ 20.

       The case also involved complex legal issues. KSE challenged the merits of

 the claims, raising a statute of limitations defense and were prepared to assert

 numerous other defenses to the merits and the propriety of class certification. FH

 Decl. ¶¶ 19. This further supports the reasonableness of the requested fees.

              5.   The Parties Are Both Represented by Skilled Counsel

       The skill of the Parties’ counsel, including professionalism and experience,

 also validates the reasonableness of the requested fee award. In re Rio, 1996 WL

 780512, at *18. And “the ability of [counsel] to negotiate a favorable settlement in

 the face of formidable legal opposition further evidences the reasonableness of the

 fee award requested.” In re Delphi, 248 F.R.D. at 504. Plaintiffs’ Counsel have

 significant experience litigating class actions of similar size, scope, and complexity



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 as here. EPM Decl. ¶¶ 24-25; PF Decl. ¶¶ 4-10, 13-17; FH Decl. ¶¶ 3-19. They

 regularly engage in complex litigation involving consumer privacy, including PPPA

 cases. See id. Plaintiffs’ Counsel faced highly skilled counsel, as KSE is represented

 by an experienced law firm and it made clear that, but for the Settlement, it would

 dispute its liability and assert multiple defenses. EPM Decl. ¶¶ 15, 17. Given the

 skill of counsel on both sides, the requested fee award’s reasonableness is apparent.

              6.   The Hourly Value of the Legal Services Is Reasonable

       The final factor assesses the value of the legal services performed on an hourly

 basis, also known as the “lodestar.” See Isabel v. City of Memphis, 404 F.3d 404,

 415 (6th Cir. 2005). Here, as discussed, the percentage-of-the-fund method, not the

 lodestar method, is the appropriate method for computing a reasonable fee. The

 potential use for counsel’s lodestar here would be to “cross-check” that amount with

 the amount of fees requested by counsel as a percentage of the fund. Even then,

 however, a cross-check of counsel’s lodestar is “not required.” Arp v. Hohla & Wyss

 Enterprises, LLC, 2020 WL 6498956, at *7 (S.D. Ohio Nov. 5, 2020); see also Van

 Horn v. Nationwide Prop. & Cas. Ins. Co., 436 F. App’x 496, 501 (6th Cir. 2011));

 Est. of McConnell v. EUBA Corp., 2021 WL 1966062, at *6 (S.D. Ohio May 17,

 2021) (“lodestar cross-check” is “not required”). Rather, where the percentage-of-

 the-fund method is used to compute counsel’s fee, a lodestar cross-check is optional

 and discretionary. See Van Horn, 436 F. App’x at 501 (finding that district courts



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 have complete discretion when deciding to calculate attorneys’ fees based on the

 percentage-of-the-fund or lodestar methods; thus a cross-check analysis is optional).

 In re Delphi, 248 F.R.D. at 503 (applying percentage-of-the-fund-method in

 awarding fees in common-fund settlement, without addressing Ramey factor related

 to “the value of the services on an hourly basis”); Fournier, 997 F. Supp. at 833.

       Here, like in Delphi, Fournier, and Arp, the SA’s background demonstrates

 that there is no need to “cross-check” the requested fee (35% of the SF) with the

 lodestar value of the time Plaintiffs’ Counsel expended on the prosecution of solely

 this case. The non-reversionary common-fund SA achieved here is a direct result of

 Plaintiffs’ Counsel’s multi-year investigation into certain disclosure practices in

 effect in segments of the publishing industry in 2015-16, Plaintiffs’ Counsel’s

 extensive analysis of the applicable statute of limitations (and other threshold

 issues), and the significant time (thousands of hours) and other resources Plaintiffs’

 Counsel expended prosecuting related litigations and developing favorable bodies

 of PPPA jurisprudence on issues of critical importance to the claims alleged in this

 case. See PF Decl. ¶¶ 4-10; FH Decl. ¶¶ 13-18. This included methodically reviewing

 historical data cards found in cached Internet archives to identify companies whose

 practices violated the PPPA, FH Decl. ¶ 20, and litigating (and prevailing on)

 critically important issues such as the retroactivity of the Michigan legislature’s

 amendment to the PPPA that became effective on 7/31/16 and the applicability of



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 the catch-all six-year limitation period to these claims. FH Decl. ¶¶ 14-19; PF Decl.

 ¶ 8-9. Thus, the SA, and this case, should not be viewed in a vacuum, but rather as

 part of a multi-year project in which counsel devoted substantial time, money, and

 resources for the benefit of Michigan consumers (i.e. the SCMs), on a contingency

 basis without any guarantee of recovering fees for their work or reimbursement for

 out-of-pocket expenses. See PF Decl. ¶ 11; FH Decl. ¶ 22 (“The excellent result we

 obtained in this case, and the efficiency with which we obtained it, would not have

 been possible without the significant investments of time and other resources that

 we made towards the prosecution of the PPPA actions outlined above over the better

 part of the past decade, which provided us with the knowledge, experience, and well-

 developed body of PPPA jurisprudence necessary to achieve this Settlement.”).

       In Arp, the court awarded counsel a percentage of a common settlement fund

 as a fee, based on circumstances similar to those here. Noting that “courts have broad

 discretion when it comes to awarding a reasonable fee and when weighing the Ramey

 factors,” the court explained why “a lodestar cross-check is not required” in all cases:

            What the lodestar . . . case does not reflect is Class Counsel’s work
            in other [similar] cases that directly benefited the class . . . A firm’s
            expertise in a niche area provides important context when
            analyzing the reasonableness of fees.

            It would be inequitable for a court to reduce a fee award based on
            a lodestar cross-check without considering a law firm’s work in
            other cases raising the same or similar issues. That work may . . .
            substantially enhance the result Class Counsel is able to achieve
            [because] (1) successfully litigating a particular issue may improve

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            the settlement prospects of cases raising the same issue, (2)
            developing expertise in a specific niche improves the firm’s ability
            to effectively litigate within that niche, and (3) the work product
            from one case can be used in a case raising the same issue,
            resulting in value that is not adequately reflected in a lodestar.

            . . . the percentage-of-the-fund approach automatically factors into
            the award any enhancement to the settlement derived from Class
            Counsel’s work in similar cases [and] encourages efficiency,
            judicial economy, and aligns interests of the lawyers with the class.

 Arp, 2020 WL 6498956, at *7-8 (cleaned up). And in Loftus, Judge Goldsmith

 adopted the same rationale in approving Class Counsel’s request for 35% of the fund

 without undertaking a lodestar cross-check:

             [T]he request for 35 percent is in line with what other courts have
             approved and especially in this context where the lawyers did
             produce significant results for the class in very short order . . .
             they should be rewarded appropriately for having done a very
             effective job as class counsel.

 Ex. 6 (Fin. Approv. Hrg. Tr., 7:21-8:1); see also Kain, 4:21-cv-11807 PageID.1368;

 Strano, No. 1:21-cv-12987 PageID.1900; Moeller, No. 1:22-cv-10666 PageID.2338.

       Plaintiffs’ Counsel’s request for a 35% fee here rests on the same set of

 circumstances that supported awarding a percentage-of-the-fund fee in Strano,

 Moeller, Arp, Loftus, and Kain. Similarly, Plaintiffs’ Counsel should be rewarded

 for efficiently achieving the best per-class member settlement ever in a PPPA case,

 and for negotiating a non-reversionary structure that automatically provides

 meaningful relief to all SCMs, as well as meaningful prospective relief. This result

 would not have been possible without the thousands of hours of time Plaintiffs’

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 Counsel devoted, over several years, investigating the publishing industry’s

 disclosure practices, developing law on each of the critically important issues

 underlying the PPPA claim alleged here, and protecting the ability of consumers to

 continue prosecuting these cases under the prior version of the statute. See EPM

 Decl. ¶¶ 5-6, PF Decl. ¶¶ 4-10; FH Decl. ¶¶ 13-22. In this context, the requested fee

 of 35% of the common fund is reasonable and appropriate, regardless of the hours

 expended solely on the prosecution of this case. See id. (“A firm’s expertise in a

 niche area provides important context when analyzing the reasonableness of a fee”).

       Accordingly, this factor also confirms the reasonableness of the requested fee.

 V.    CONCLUSION

       Based on the above, Plaintiffs respectfully request that the Court (1) approve

 attorneys’ fees, costs, and expenses in the amount of 35% of the SF, or $3,325,000;

 (2) grant Mr. Pratt and Mr. Jones service awards of $1,500 in recognition of their

 efforts on behalf of the class; and (3) award any other relief as the Court deems

 reasonable and just.

 Dated: October 16, 2023                Respectfully submitted,
                                        By: /s/ E. Powell Miller
                                        E. Powell Miller (P39487)
                                        THE MILLER LAW FIRM, P.C.
                                        950 W. University Drive, Suite 300
                                        Rochester, MI 48307
                                        Tel: 248.841.2200
                                        epm@millerlawpc.com
                                        Class Counsel

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                                    Joseph I. Marchese (P85862)
                                    Philip L. Fraietta (P85228)
                                    BURSOR & FISHER, P.A.
                                    1330 Avenue of the Americas, 32nd Floor
                                    New York, New York 10019
                                    Tel: 646.837.7150
                                    jmarchese@bursor.com
                                    pfraietta@bursor.com

                                    Frank S. Hedin
                                    Arun G. Ravindran
                                    HEDIN HALL LLP
                                    1395 Brickell Avenue, Suite 1140
                                    Miami, Florida 33131
                                    Tel: 305.357.2107
                                    fhedin@hedinhall.com
                                    aravindran@hedinhall.com

                                    Other Counsel for Plaintiffs




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                         CERTIFICATE OF SERVICE

       I, E. Powell Miller, an attorney, hereby certify that on October 17, 2023, I

 served the above and foregoing Plaintiffs’ Motion for Attorneys’ Fees, Costs,

 Expenses, and Service Awards on all counsel of record by filing it electronically

 with the Clerk of the Court using the CM/ECF filing system.

                                      /s E. Powell Miller
                                      E. Powell Miller
